UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 In Re:

                                                          Chapter 11

 RENEE MASLIKHOV                                      Case No. 19-42688 (CEC)

                         Debtor.




                                              HEARING DATE June 19, 2019


     NOTICE OF MOTION TO DISMISS ON BEHALF OF SECURED CREDITOR

       PLEASE TAKE NOTICE that upon the annexed application of Brian G. Hannon, Esq.
Counsel to Standard Oil Credit Holding Group, LLC a hearing will be held before the Honorable
Carla E. Craig, Bankruptcy Judge, to consider the motion for an order dismissing the Debtor’s
Chapter 11 bankruptcy case.


       Date and time of hearing:   June 19, 2019 at 2:00 p.m.
       Location:                   U.S. Bankruptcy Court
                                   271-C Cadman Plaza East
                                   Brooklyn, New York 11201-1800




Dated: May 23, 2019                By: /s/ Brian G. Hannon, Esq.
                                           Brian G. Hannon, Esq.
                                           Norgaard O’Boyle
                                           184 Grand Avenue
                                           Englewood, New Jersey 07631
                                           (201) 871-1333
                                           bhannon@norgaardfirm.com
